UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 RIVERVIEW ENERGY CORPORATION,
                        Plaintiff,

                      -v -                                          23-CV-6200 (JPO)

 BETHEL CAPITAL INVESTMENT, et al.,                                       ORDER
                         Defendants.


J. PAUL OETKEN, District Judge:

        This action was filed on July 18, 2023. Rule 4(m) of the Federal Rules of Civil

Procedure requires a defendant to be served with the summons and complaint within ninety days

after the complaint is filed.

        Plaintiff is directed to advise the Court in writing why it has failed to serve the summons

and complaint on Defendants within the ninety-day period, or, if Defendants have been served,

when and in what manner such service was made. If no written communication is received by

December 26, 2023, showing good cause why such service was not made within ninety days, the

Court will dismiss the case.

        SO ORDERED.

Dated: December 19, 2023
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
